Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 1 of 6
Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 2 of 6
Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 3 of 6
Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 4 of 6
Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 5 of 6
Case 8:10-cv-00879-DNH-RFT   Document 28   Filed 10/18/10   Page 6 of 6
